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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )    CASE NO 5:21-CR-009
                                               )
MARIA LETICIA PATRICIO,                        )
DANIEL MENDOZA,                                )
NERY RENE CARRILLO-NAJARRO,                    )
JC LONGORIA CASTRO,                            )
ENRIQUE DUQUE TOVAR,                           )
CHARLES MICHAEL KING,                          )
STANLEY NEAL MCGAULEY,                         )
LUIS ALBERTO MARTINEZ,                         )
DELIA IBARRA ROJAS,                            )
JUANA IBARRA CARRILLO,                         )
DONNA MICHELLE ROJAS,                          )
MARGARITA ROJAS CARDENAS,                      )
JUAN FRANCISCO ALVAREZ CAMPOS,                 )
ROSALVA GARCIA MARTINEZ,                       )
ESTHER IBARRA GARCIA,                          )
BRETT DONAVAN BUSSEY,                          )
LINDA JEAN FACUNDO,                            )
GUMARA CANELA,                                 )
DANIEL MERARI CANELA DIAZ, and                 )
CARLA YVONNE SALIAS                            )

                             JOINT STATUS REPORT
      The United States and Defendants1 Maria Leticia Patricio, Daniel Mendoza,

Nery Rene Carrillo-Najarro, Antonio Chavez Ramos, JC Longoria Castro, Enrique

Duque Tovar, Delia Ibarra Rojas, Juana Ibarra Carrillo, Donna Michelle Rojas,

Margarita Rojas Cardenas, Juan Francisco Alvarez Campos, Rosalva Garcia Martinez,




1Defendants Charles Michael King, Stanley Neal McGauley, Luis Alberto Martinez,
and Daniel Merari Canela Diaz no longer join in the Motion for Identification (doc.
549) because they are either set to appear for a change of plea hearing or have already
appeared for a change of plea hearing.

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Esther Ibarra Garcia, Brett Donavan Bussey, Linda Jean Facundo, Gumara Canela,

and Carla Yvonne Salinas, collectively referred to as the parties, jointly provide the

Court with the following information to assist the Court in scheduling an in-person

hearing on Defendant Bussey’s Motion for Identification of the Specific Documents

Which the Government Expects to Introduce in Its Case-In-Chief at Trial (“Motion for

Identification”), doc. 549:

       1.     On April 28, 2023 and June 2, 2023, the Court advised the parties that it

intends to conduct an in-person hearing on the Motion for Identification and preferred

to conduct that hearing after the United States’ load file of the searchable discovery

was produced to the defense Discovery Coordinator, Mr. Russ Aoki. See Docs. 568 and

597.

       2.     The United States provides notice that counsel for the United States

received the load file of the searchable discovery on May 25, 2023 and mailed the load

file to the defense Discovery Coordinator on May 26, 2023. The defense Discovery

Coordinator received the load file on May 31, 2023.

       3.     The defense Discovery Coordinator advised counsel for the United States

that it would take several weeks for him to review the load file for any errors and then

upload the file into his searchable database to then share with defense counsel. The

defense Discovery Coordinator further advised that he anticipated his review and

production of the load file should be complete by mid to late June.

       4.     To ensure a productive in-person hearing, the United States recommends

the hearing on the Motion for Identification be scheduled after June 20, 2023. This

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will allow defense counsel to receive the load file in a searchable database prior to the

hearing.

      5.     Counsel for the United States has conferred with the defense Discovery

Coordinator and the undersigned defense counsel to select possible dates for an in-

person hearing. The parties provide notice that counsel for the United States, a

representative from the Government’s electronic discovery team, the defense

Discovery Coordinator, and defense counsel are all available for a hearing on the

Motion for Identification on the following dates: August 16 and August 28 through

August 31.

      6.     The United States provides notice that the defense Discovery

Coordinator and members of the Government’s electronic discovery team have

requested to appear by video for any scheduled hearing in this matter. The parties

have conferred and have no objection to a video appearance by the defense Discovery

Coordinator or any member of the government’s electronic discovery team. See United

States v. Lattimore, No. 20-123 (TFH), 2021 WL 860234, at *7 (D.C.C. Mar. 8, 2021)

(holding that a remote suppression hearing conducted through video, as necessitated

by COVID-19 pandemic, did not violate the defendant’s rights).

      7.     The parties provide further notice that the following defense counsel have

requested to appear by video for the hearing: (1) Jessica Stern, counsel for Defendant

Antonio Chavez Ramos; (2) Katie Brewington, counsel for Delia Ibarra Rojas; (3)

William Turner, counsel for Juana Ibarra Carrillo; (4) Tina Maddox, counsel for

Rosalva Garcia Martinez; (5) Graham Floyd, counsel for Gumara Canela; (6) Paul


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Kish, counsel for Juan Francisco Alvarez Campos; and Juanita Holsey Bostick, counsel

for Maria Patricio. The United States has no objection to defense counsel appearing

by video for the hearing.

      8.     The parties further notify the Court that currently, they do not anticipate

the need for an interpreter at this hearing. If that changes, the parties will promptly

notify the Court.

                               Respectfully submitted,

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